   Case 19-50012        Doc 219     Filed 09/06/19    EOD 09/06/19 17:51:56     Pg 1 of 13



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION



                                              )
In re:                                        )      Chapter 11
                                              )
USA GYMNASTICS,                               )      Case No. 18-09108-RLM-11
                                              )
                       Debtor.                )
                                              )
USA GYMNASTICS,                               )
                                              )
                       Plaintiff,             )
                v.                            )      Adv. Case No. 19-50012
                                              )
ACE AMERICAN INSURANCE                        )
COMPANY f/k/a CIGNA INSURANCE                 )
COMPANY, GREAT AMERICAN                       )
ASSURANCE COMPANY, LIBERTY                    )
INSURANCE UNDERWRITERS INC.,                  )
NATIONAL CASUALTY COMPANY,                    )
RSUI INDEMNITY COMPANY, TIG                   )
INSURANCE COMPANY, VIRGINIA                   )
SURETY COMPANY, INC. f/k/a                    )
COMBINED SPECIALTY INSURANCE                  )
COMPANY, WESTERN WORLD                        )
INSURANCE COMPANY, ENDURANCE                  )
AMERICAN INSURANCE COMPANY,                   )
AMERICAN INTERNATIONAL GROUP,                 )
INC., AMERICAN HOME ASSURANCE                 )
COMPANY, AND DOE INSURERS,                    )
                                              )
                      Defendants.             )
                                              )


      EMERGENCY MOTION OF LIBERTY INSURANCE UNDERWRITERS, INC.
        TO CONTINUE HEARING ON LIU SUMMARY JUDGMENT MOTIONS

          Liberty Insurance Underwriters Inc. (“LIU”) by and through its undersigned counsel,

hereby requests entry of an Order, substantially in the form attached hereto as Exhibit 1,

granting this Emergency Motion to Continue Hearing on LIU Summary Judgment Motions (the


9411489
    Case 19-50012        Doc 219     Filed 09/06/19    EOD 09/06/19 17:51:56       Pg 2 of 13



“Motion to Continue”) seeking a continuance of the hearing currently scheduled for September

17, 2019 on the LIU Summary Judgment Motions (as defined herein) until a ruling by the

District Court on the Renewed Motion of ACE American Insurance Company, f/k/a Cigna

Insurance Company and TIG Insurance Company to Withdraw the Reference [Adv. Pro. Docket

No. 192]1 (the “Renewed Motion to Withdraw Reference”) and LIU’s joinder thereto [Adv. Pro.

Docket No. 208] (LIU’s “Joinder and Renewed Motion”),2 which motions and joinder request

that the District Court withdraw the reference of the above-captioned adversary proceeding (the

“Adversary Proceeding”) filed by USA Gymnastics (“USAG”) against LIU and its co-

defendants (collectively, the “Insurer Defendants”).       In further support of the Motion to

Continue, LIU respectfully states as follows:

          1.     LIU respectfully directs the Court’s attention to the Renewed Motion to Withdraw

the Reference and the Joinder and Renewed Motion for a recitation of the relevant facts and

procedural posture of this Adversary Proceeding.

          2.     In short, LIU prosecuted the Original Motion to Withdraw Reference before the

District Court. The District Court denied the motion without prejudice and with leave to renew

the request “if the case does not settle.” See Dist. Ct. Docket No. 101 (providing that the

Original Motion to Withdraw Reference “is DENIED at this time. If the case does not settle,

Defendants may renew the motion.”). After the District Court denied the Original Motion to




1
          As used herein, [Adv. Pro. Docket No. __] shall refer to filings made in the Adversary
          Proceeding currently pending before this Court (Case No. 19-50012). References to
          [Dist. Ct. Docket No. __] shall refer to filings made before the District Court for the
          Southern District of Indiana in the civil action styled Case No. 18-cv-01306-RLY-MPB.
2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed
          to them in the Joinder and Renewed Motion.

                                                 2
9411489
    Case 19-50012        Doc 219    Filed 09/06/19    EOD 09/06/19 17:51:56       Pg 3 of 13



Withdraw Reference without prejudice, LIU and its co-Insurer Defendants (the “Non-LIU

Insurers”) engaged with the Debtor in mediation. That mediation remains ongoing.

          3.     Nevertheless, the Debtor has chosen to schedule a hearing on the USA

Gymnastics’ Motion for Partial Summary Judgment [Adv. Pro. Docket No. 26] and the Cross-

Motion for Summary Judgment of Defendant Liberty Insurance Underwriters Inc. [Adv. Pro.

Docket No. 130] (collectively, the “LIU Summary Judgment Motions”) for September 17,

2019.3 The Debtor has also scheduled a hearing at that time on separate summary judgment

motions filed against certain of the Non-LIU Insurers.         Given the District Court’s clear

instruction that the Insurer Defendants may renew their request to withdraw the reference of the

Adversary Proceeding in the event “the case does not settle,” coupled with the Debtor effectively

abandoning those efforts by forcing a hearing on the summary judgment motions, LIU and

certain Non-LIU Insurers have now renewed their original request to withdraw the reference.

          4.     As the Court is aware, LIU’s and the Non-LIU Insurers’ renewed requests for

withdrawal of the reference remain pending before the Bankruptcy Court. On September 3,

2019, the Debtor filed objections to those pending motions [Adv. Pro. Docket Nos. 209 & 210].

Through its current and prior objections to LIU’s requests for withdrawal, the Debtor seems to

concede that the Adversary Proceeding is non-core and that LIU has demanded a jury trial—



3
          The Debtor claims that “the hearing on the Summary Judgment Motions has been
          scheduled, with LIU’s consent, for nearly two months.” USA Gymnastics’ Objection to
          LIU’s Emergency Motion to Schedule a Status Conference [Dist. Ct. Docket No. 109]
          (the “USAG Objection”). Not so. When LIU agreed on July 5 that the LIU Summary
          Judgment Motions could be set for August 14, it did so on the basis that mediation was
          scheduled to conclude in advance of any hearing. It was not until August 7 that the
          Debtor re-noticed the hearing [Adv. Pro. Docket No. 171], which it again rescheduled on
          August 9 [Adv. Pro. Docket No. 181]. LIU renewed its request for withdrawal of the
          reference when it became clear that the hearing would go forward while mediation
          remains ongoing. That request is now fully briefed and awaiting transmittal to the
          District Court.

                                                 3
9411489
   Case 19-50012       Doc 219      Filed 09/06/19     EOD 09/06/19 17:51:56         Pg 4 of 13



which are the two factors that courts weigh most heavily when deciding whether to withdraw the

reference. However, the Debtor insists, despite case law on which it has relied to the contrary,

that the time for withdrawal of the reference and transfer of the Adversary Proceeding to the

District Court is not yet ripe because the matter is not yet “trial ready.” For the reasons stated in

LIU’s Joinder and Renewed Motion to Withdraw, LIU respectfully submits that the Debtor is

mistaken. See, e.g., Gecker v. Marathon Fin. Ins. Co., 391 B.R. 613, 616 (N.D. Ill. 2008)

(“While some courts have suggested that the proper time to renew a motion to withdraw the

reference is when the case is ‘ready for trial’, it may well be that renewal of the motion would be

appropriate at an earlier stage. For example, a district court may be inclined to withdraw the

reference prior to the filing of dispositive motions on non-core claims in order to avoid the

inefficiency of two different judges ruling on essentially the same motion[.]”) (internal citation

omitted).

          5.   The local rules permit, but do not require, LIU to file a response to USAG’s

objection. LIU has elected not to file a reply and has instead filed a Notice of Completion of

Briefing and Request for Transmittal of Documents to U.S. District Court (Case No. 18-cv-

01306-RLY-MPB) [Adv. Pro. Docket No. 218]. Briefing on LIU’s Joinder and Renewed Motion

is therefore complete, meaning that, pursuant to Local Bankruptcy Rule B-5011-1(f), the time is

ripe to transfer the underlying pleadings and record to the District Court for a decision on the

merits.

          6.   Although LIU has requested the transmittal of its Joinder and Renewed Motion

and record to the District Court, LIU is also aware that the District Court is under no obligation

to act in advance of the September 17 hearing scheduled before this Court on the LIU Summary

Judgment Motions. LIU has requested a status conference before the District Court [Dist. Ct.



                                                 4
9411489
    Case 19-50012        Doc 219     Filed 09/06/19    EOD 09/06/19 17:51:56         Pg 5 of 13



Docket No. 108]4 to advise the District Court of recent developments and filings made in the

Adversary Proceeding.

          7.     LIU now files this Motion to Continue to request that the Court continue the

hearing on the LIU Summary Judgment Motions to a date following a decision by the District

Court concerning LIU’s renewed request for withdrawal of the reference. For the reasons stated

in its Joinder and Renewed Motion, LIU contends that a hearing before this Court on the LIU

Summary Judgment Motions would not promote the efficient use of the parties’ resources and

judicial resources, given that this Court can only issue a report and recommendation in this non-

core proceeding that will then be subject to de novo review by the District Court.

          8.     Even if the District Court were to deny LIU’s request, the short delay that would

result from a continuance would not materially harm any of the parties. In contrast, proceeding

with a hearing on the LIU Summary Judgment Motions before this Court, while a request to

withdraw the reference is pending before the District Court, may result in a waste of the parties’

resources and judicial resources if the District Court agrees with LIU that the time is ripe for

withdrawing the reference and transferring the Adversary Proceeding to the District Court.

          9.     Accordingly, LIU respectfully requests a brief continuance of the hearing on the

LIU Summary Judgment Motions to provide the District Court with an appropriate amount of

time to consider LIU’s renewed request for withdrawal of the reference of the Adversary

Proceeding.




4
          Attached hereto as Exhibits A and B, respectively, are (a) LIU’s request to the District
          Court and (b) the USAG Objection thereto.

                                                 5
9411489
   Case 19-50012    Doc 219   Filed 09/06/19   EOD 09/06/19 17:51:56      Pg 6 of 13



                                      Respectfully submitted,

Dated: September 6, 2019              LIBERTY INSURANCE UNDERWRITERS INC.

                                      By its attorneys,

                                      /s/ Ginny L. Peterson
                                      Ginny L. Peterson, Attorney No. 20305-41
                                      KIGHTLINGER & GRAY, LLP
                                      One Indiana Square, Suite 300
                                      211 North Pennsylvania Street
                                      Indianapolis, IN 46204
                                      (317) 638-4521
                                      (317) 636-5917 (Fax)
                                      gpeterson@k-glaw.com

                                      -and-

                                      Nancy D. Adams (admitted pro hac vice)
                                      Laura B. Stephens (admitted pro hac vice)
                                      Mathilda S. McGee-Tubb (admitted pro hac vice)
                                      MINTZ, LEVIN, COHN, FERRIS, GLOVSKY
                                      AND POPEO PC
                                      One Financial Center
                                      Boston, MA 0211
                                      (617) 542-6000
                                      nadams@mintz.com
                                      lbstephens@mintz.com
                                      msmcgee-tubb@mintz.com

                                      -and-

                                      Douglas R. Gooding (admitted pro hac vice)
                                      Jonathan D. Marshall (admitted pro hac vice)
                                      CHOATE, HALL & STEWART LLP
                                      Two International Place
                                      Boston, Massachusetts 02110
                                      (617) 248-5277
                                      dgooding@choate.com
                                      jmarshall@choate.com

                                      Counsel for Liberty Insurance Underwriters Inc.




9411489
   Case 19-50012   Doc 219   Filed 09/06/19   EOD 09/06/19 17:51:56   Pg 7 of 13



                                   EXHIBIT 1

          Proposed Order Granting Emergency Motion to Continue Hearing




9411489
   Case 19-50012        Doc 219     Filed 09/06/19    EOD 09/06/19 17:51:56     Pg 8 of 13



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION



                                              )
In re:                                        )      Chapter 11
                                              )
USA GYMNASTICS,                               )      Case No. 18-09108-RLM-11
                                              )
                       Debtor.                )
                                              )
USA GYMNASTICS,                               )
                                              )
                       Plaintiff,             )
                v.                            )      Adv. Case No. 19-50012
                                              )
ACE AMERICAN INSURANCE                        )
COMPANY f/k/a CIGNA INSURANCE                 )
COMPANY, GREAT AMERICAN                       )
ASSURANCE COMPANY, LIBERTY                    )
INSURANCE UNDERWRITERS INC.,                  )
NATIONAL CASUALTY COMPANY,                    )
RSUI INDEMNITY COMPANY, TIG                   )
INSURANCE COMPANY, VIRGINIA                   )
SURETY COMPANY, INC. f/k/a                    )
COMBINED SPECIALTY INSURANCE                  )
COMPANY, WESTERN WORLD                        )
INSURANCE COMPANY, ENDURANCE                  )
AMERICAN INSURANCE COMPANY,                   )
AMERICAN INTERNATIONAL GROUP,                 )
INC., AMERICAN HOME ASSURANCE                 )
COMPANY, AND DOE INSURERS,                    )
                                              )
                      Defendants.             )
                                              )


                   ORDER GRANTING EMERGENCY MOTION OF
                  LIBERTY INSURANCE UNDERWRITERS, INC. TO
            CONTINUE HEARING ON LIU SUMMARY JUDGMENT MOTIONS

          The matter having come before the Court on the Emergency Motion to Continue Hearing

on LIU Summary Judgment Motions (the “Motion to Continue”) filed by Liberty Insurance



9411489
   Case 19-50012       Doc 219     Filed 09/06/19     EOD 09/06/19 17:51:56   Pg 9 of 13



Underwriters, Inc.; and the Court having considered the Motion for a Status Conference and

being duly advised does hereby ORDER that the relief requested therein is hereby GRANTED.

The September 17, 2019 hearing on the LIU Summary Judgment Motions is hereby VACATED

and shall be rescheduled for a future date to be determined by the Court.


DATED: ___________________                   __________________________________________
                                             HONORABLE ROBYN L. MOBERLY




                                                9
9411489
   Case 19-50012   Doc 219   Filed 09/06/19    EOD 09/06/19 17:51:56         Pg 10 of 13



                                    EXHIBIT A

            LIU’s Motion for Status Conference filed in the District Court




9411489
   Case 19-50012     Doc 219    Filed 09/06/19   EOD 09/06/19 17:51:56     Pg 11 of 13



                                       EXHIBIT B

     USAG Objection to LIU’s Motion for Status Conference filed in the District Court




9411489
   Case 19-50012      Doc 219      Filed 09/06/19    EOD 09/06/19 17:51:56         Pg 12 of 13



                                CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2019, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

Steven Baldwin - sbaldwin@psrb.com

Tonya J. Bond - tbond@psrb.com

Wendy D Brewer - wbrewer@fmdlegal.com

George Calhoun, IV - george@ifrahlaw.com

Karen M Dixon - kdixon@skarzynski.com

Jeffrey B. Fecht - jfecht@rbelaw.com

Scott Patrick Fisher - sfisher@drewrysimmons.com

Eric D Freed - efreed@cozen.com

Gregory Michael Gotwald - ggotwald@psrb.com

Susan N Gummow - sgummow@fgppr.com

Katherine Hance - khance@goodwin.com

Cassandra Jones - cjones@walkerwilcox.com

Bruce L. Kamplain - bkamplain@ncs-law.com

Kevin P Kamraczewski - kevin@kevinklaw.com

Ronald David Kent - ronald.kent@dentons.com

Christopher Kozak - ckozak@psrb.com

Cynthia Lasher - clasher@ncs-law.com

Michael M. Marick - mmarick@skarzynski.com

Phillip Alan Martin - pmartin@fmdlegal.com

Harley K Means - hkm@kgrlaw.com

Robert Millner - robert.millner@dentons.com


9411489
   Case 19-50012     Doc 219     Filed 09/06/19     EOD 09/06/19 17:51:56    Pg 13 of 13




James P Moloy - jmoloy@boselaw.com

Stephen Jay Peters - speters@kgrlaw.com

Hans Pijls - hans.pijls@dinsmore.com

George Plews - gplews@psrb.com

Abigail E. Rocap - arocap@batescarey.com

Melissa M. Root - mroot@jenner.com

Igor Shleypak - ishleypak@fgppr.com

Heather Elizabeth Simpson - heather.simpson@kennedyscmk.com

Catherine L. Steege - csteege@jenner.com

U.S. Trustee - ustpregion10.in.ecf@usdoj.gov

Susan Walker - susan.walker@dentons.com

Joshua D Weinberg - jweinberg@goodwin.com

Dated: August 29, 2019                     /s/Ginny L. Peterson
                                           Ginny L. Peterson, Attorney No. 20305-41
                                           KIGHTLINGER & GRAY, LLP
                                           One Indiana Square, Suite 300
                                           211 North Pennsylvania Street
                                           Indianapolis, IN 46204
                                           (317) 638-4521
                                           (317) 636-5917 (Fax)
                                           gpeterson@k-glaw.com




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